                                                     SO ORDERED.


                                                     Dated: September 17, 2018


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                                                     Daniel P. Collins, Bankruptcy Judge
3                                                    _________________________________

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6
                       IN THE UNITED STATES BANKRUPTCY COURT
7
                            FOR THE DISTRICT OF ARIZONA
8
     In re:                           )     In Chapter 7 Proceedings
9                                     )
     MARK J. SWARTZ;                  )     Case No. 2:18-BK-07157-DPC
10                                    )
                          Debtor.     )
11                                    )

12                                  ORDER

13             This matter having come before the Court on the trustee’s

14   Motion To Extend Stay And Retain Property And Notice Of Bar Date For

15   Objections (Admin. Dkt. No. 22); and

16             No objections to the trustee’s motion having been timely filed

17   and served; and

18             Good cause appearing.

19             IT IS ORDERED that the automatic stay shall be and is hereby

20   extended and shall remain in place with regard to the 2007 Chrysler and

21   a 2009 Mercedes (collectively the “Vehicles”) pending further order of

22   the Court.

23             IT IS FURTHER ORDERED that the Vehicles shall remain property

24   of the estate pending further order of the Court.

25                        DATED AND SIGNED ABOVE.

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